Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 1 of 6 Page ID
                                #:13401




                      EXHIBIT A




                                   Page Opp.
                                   Defs.' 1  to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
                        Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 2 of 6 Page ID
                                                        #:13402
                                               Defendants' Proposed EAJA Calculations



                                  2014 Fees           2015 Fees         2016 Fees                      Total fees
                        2014      @ stat rate 2015    @ stat rate 2016 @ stat rate Total stat          enhanced rates
Legal Team Member       hours     (190.06)    hours   (190.28)    hours (191.70)   fees                certain counsel
CHRCL
Peter Schey ($875/hr)     46.75    $8,885.31   372.45 $70,869.79 236.8 $45,394.56 $125,149.65              $574,000.00
Carlos Holguin
($725/hour)              254.59 $48,387.38     171.69 $32,669.17 6.39 $1,224.96          $82,281.51        $313,685.75
Marchela lahdjian             0      $0.00      109.8 $20,892.74    0      $0.00         $20,892.74         $21,002.54
Chapman Noam                  0      $0.00        5.5 $1,046.54 54.33 $10,415.06         $11,461.60         $11,521.43

Orrick etc
Elena Garicia             58.26 $11,072.90     104.56 $19,895.68 54.52 $10,451.48        $41,420.06          $41,579.14
William Molinski            0.2     $38.01        9.7 $1,845.72      0      $0.00         $1,883.73           $1,893.43
T. Wayne Harman            13.3 $2,527.80       137.6 $26,182.53   0.7    $134.19        $28,844.52          $28,982.82

Foundation etc.
Kate Manning
($543/hour)                35.1    $6,671.11    170.1 $32,366.63      4       $766.80    $39,804.53        $113,595.60

Youth Law Center
Alice Bussiere
($800/hour)                 5.1     $969.31      54.6 $10,389.29  5.5 $1,054.35          $12,412.94    $52,160.00
Virginia Corrigan           5.6    $1,064.34     45.5 $8,657.74 65.08 $12,475.84         $22,197.91    $22,308.49
Totals                                                                                  $386,349.19 $1,180,729.20




                                                                          Page 2            Defs.' Opp. to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
                        Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 3 of 6 Page ID
                                                        #:13403

                                   % of      % of      % of
                                   Hours     Hours     Hours
                                   Billed at Billed at Billed at
                                   2014 stat 2015 stat 2016 stat
                        Total      rate      rate      rate
Legal Team Member       hours      (190.06) (190.06) (190.06)
CHRCL
Peter Schey ($875/hr)       656          7%    56.78%    36.10%
Carlos Holguin
($725/hour)              432.67      58.84% 39.68%        1.48%
Marchela lahdjian         109.8       0.00% 100.00%       0.00%
Chapman Noam              59.83       0.00%   9.19%      90.81%

Orrick etc
Elena Garicia            217.34      26.81%    48.11%    25.09%
William Molinski            9.9       2.02%    97.98%     0.00%
T. Wayne Harman           151.6       8.77%    90.77%     0.46%

Foundation etc.
Kate Manning
($543/hour)                209.2     16.78%    81.31%     1.91%

Youth Law Center
Alice Bussiere
($800/hour)                65.2       7.82%    83.74%     8.44%
Virginia Corrigan        116.18       4.82%    39.16%    56.02%
Totals                  2027.72




                                                                   Page 3   Defs.' Opp. to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
                        Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 4 of 6 Page ID
                                                        #:13404

                                              Partial    Partial    Partial
                                              Success:   Success:   Success:
                                    Partial   Remaining Remaining Remaining
                        Reduction Success:    Amount     Amount     Amount
                        for Partial Remaining Billed for Billed for Billed for
Legal Team Member       Success: % Hours      2014       2015       2016
CHRCL
Peter Schey ($875/hr)        -40%       393.6      28.05     223.47        142.08
Carlos Holguin
($725/hour)                  -40%    259.602     152.754    103.014         3.834
Marchela lahdjian            -40%      65.88           0      65.88             0
Chapman Noam                 -40%     35.898           0         3.3       32.598
                                                                                0
Orrick etc                                                                      0
Elena Garicia                -40%    130.404      34.956     62.736        32.712
William Molinski             -40%       5.94        0.12       5.82             0
T. Wayne Harman              -40%      90.96        7.98      82.56          0.42
                                                                                0
Foundation etc.                                                                 0
Kate Manning
($543/hour)                  -40%      125.52      21.06    1757.28             2.4
                                                                                  0
Youth Law Center                                                                  0
Alice Bussiere
($800/hour)                  -40%      39.12        3.06      32.76            3.3
Virginia Corrigan            -40%     69.708        3.36       27.3        39.048
Totals                              1216.632




                                                                       Page 4         Defs.' Opp. to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
                        Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 5 of 6 Page ID
                                                        #:13405

                        Further
                        Reduction
                        for Hours               Remaining     Remaining      Remaining
                        Not                     Amount        Amount         Amount
                        Reasonably Remaining    Billed for    Billed for     Billed for
Legal Team Member       Expended Hours          2014          2015           2016
CHRCL
Peter Schey ($875/hr)         -45%     216.48       15.4275      122.9085         78.144
Carlos Holguin
($725/hour)                   -35%   168.7413       99.2901       66.9591         2.4921
Marchela lahdjian             -35%     42.822             0        42.822              0
Chapman Noam                  -30%    25.1286             0           2.31       22.8186
                                                          0              0             0
Orrick etc                                                0              0             0
Elena Garicia                 -35%    84.7626       22.7214       40.7784        21.2628
William Molinski              -30%      4.158         0.084         4.074              0
T. Wayne Harman               -30%     63.672         5.586        57.792          0.294
                                                          0              0             0
Foundation etc.                                           0              0             0
Kate Manning
($543/hour)                   -38%    77.8224       13.0572       63.2772          1.488
                                                          0             0              0
Youth Law Center                                          0             0              0
Alice Bussiere
($800/hour)                   -30%     27.384         2.142        22.932            2.31
Virginia Corrigan             -40%    41.8248         2.016         16.38        23.4288
Totals                               752.7957




                                                                      Page 5                Defs.' Opp. to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
                    Case 2:85-cv-04544-DMG-AGR Document 357-1 Filed 05/12/17 Page 6 of 6 Page ID
                                                    #:13406


                    Fees Billed Fees Billed Fees Billed
                    After Red. After Red. After Red.
                    for 2014 @ for 2015 @ for 2016 @ TOTAL Fees
                    proper rate stat rate   stat rate   Properly
Legal Team Member   (190.06)* (190.28)* (191.70)* Billed
CHRCL
Peter Schey ($875/hr) $2,932.15 $23,387.03 $14,980.20 $41,299.38
Carlos Holguin
($725/hour)           $18,871.08 $12,740.98    $477.74 $32,089.79
Marchela lahdjian          $0.00 $8,148.17       $0.00   $8,148.17
Chapman Noam               $0.00    $231.00 $2,281.86    $2,512.86
                           $0.00      $0.00      $0.00       $0.00
Orrick etc                 $0.00      $0.00      $0.00       $0.00
Elena Garicia          $4,318.43 $7,759.31 $4,076.08 $16,153.82
William Molinski          $15.97    $775.20      $0.00     $791.17
T. Wayne Harman        $1,061.68 $10,996.66     $56.36 $12,114.70
                           $0.00      $0.00      $0.00       $0.00
Foundation etc.            $0.00      $0.00      $0.00       $0.00
Kate Manning
($543/hour)            $2,481.65 $12,040.39    $285.25 $14,807.29
                           $0.00      $0.00      $0.00       $0.00
Youth Law Center           $0.00      $0.00      $0.00       $0.00
Alice Bussiere
($800/hour)              $407.11 $4,363.50     $442.83   $5,213.44
Virginia Corrigan        $383.16 $3,116.79 $4,491.30     $7,991.25
Totals                $30,471.22 $83,559.03 $27,091.62 $141,121.86

                    * Paralegal Chapman Noam's hourly rate calculated @ $100




                                                                       Page 6   Defs.' Opp. to Pls.' Mot. for Fees and Costs - Defs.' EAJA Calculations
